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5    Attorneys for Defendants
     Western Organics, Inc. and Alan Langer
6
                            IN THE UNITED STATES DISTRICT COURT
7
                                  FOR THE DISTRICT OF ARIZONA
8

9    Square Foot Gardening Foundation, Inc., a New Case No.: CV-18-00467-PHX-GMS
     York Not-For-Profit Corporation,
10
                    Plaintiff,
11                                                              FIRST AMENDED ANSWER
     vs.
12

13   Western Organics, Inc., an Arizona Corporation,
     D/B/A Gro-Well Brands, Inc.; Alan Langer, and
14   individual; and John Does 1-10,

15                  Defendants

16
            Defendants Western Organics, Inc., an Arizona Corporation, D/B/A Gro-Well Brands,
17
     Inc. (“Gro-Well”) and Alan Langer (“Alan Langer”) (collectively “Defendants”), by their
18
     attorneys, Itkowitz PLLC, as and for their answer to the complaint (the “Complaint”) of
19
     plaintiff Square Foot Gardening Foundation, Inc. (“Plaintiff”) allege as follows:
20
           1.       Defendants note that all actions taken by Alan Langer were on behalf of Gro-Well
21

22
           and not in an individual capacity. To the extant Plaintiff characterizes allegations in the

23         Complaint as actions taken by “Defendants” (which Plaintiff defines as both Alan Langer

24         and Gro-Well), and Defendants admit same in this First Amended Answer (“Answer”),
25
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1    Defendants do not implicitly admit that the aforesaid actions were taken by Alan Langer in
2
     his individual capacity.
3
     2.        Deny each and every allegation set forth in paragraphs 1, 37 through 46, 48
4
     through 63, 65 through 70, 72 through 76, 79 through 84, 86 through 92, 94 through 98,
5

6    101 through 104, 106 through 109, 111 through 115, 117 through 120, 122 through 123,

7    125, 127 through 128, and 130 through 131 of the Complaint.
8
     3.        Deny knowledge or information sufficient to form a belief as to the truth of the
9
     allegations set forth in paragraphs 2, 6 through 24, 35, 78, and 100 of the Complaint.
10
     4.        Deny each and every allegation in paragraph 3 accept admits that Gro-Well is a
11

12   corporation organized pursuant to the laws of Delaware, with a principal place of business

13   at 420 East Southern Avenue, Tempe, Arizona 85282.
14
     5.        Deny each and every allegation in paragraph 4 and admits that Alan Langer is a
15
     resident of New York State, that he is a former CFO of Gro-Well, and is the current
16
     Chairman of the Board of Gro-Well.
17

18   6.        Admit the allegations set forth in paragraphs 5 and 25 through 27 of the

19   Complaint.
20
     7.        Deny each and every allegation set forth in paragraphs 28, 30 through 34, 124,
21
     and 129 of the Complaint and respectfully refer the Court to the October 2011 license
22
     agreement entered into by Gro-Well and Plaintiff (“License Agreement”) referenced
23

24   therein for its full force and effect.

25
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1    8.       Deny each and every allegation set forth in paragraph 29 of the Complaint and
2
     respectfully refer the Court to the License Agreement for its full force and effect, but admit
3
     that “Gro-Well never paid the Foundation any fees or royalties for products other than soil.”
4
     9.       Admit the allegations set forth in paragraph 36 except notes that Gro-Well had no
5

6    obligation to provide notice of a sale of Gro-Well to Plaintiff pursuant to the License

7    Agreement.
8
     10.      Deny each and every allegation set forth in paragraph 47 except admits that
9
     during the term of the License Agreement, which is still in effect, Gro-Well regularly
10
     featured the trademark with the Registration No. 2,784,380, as well as Bartholomew’s
11

12   name and likeness, in connection with the sale to the public of at least the following

13   products: (i) Gro-Well Square Foot Garden Potting Soil Mix, (ii) GardenTime SFG Potting
14
     Soil Mix, and (iii) Nature’s Way SFG Potting Soil Mix. Further, Plaintiff notes that the
15
     License Agreement provides that Gro-Well and Plaintiff “will each allow the other to
16
     advertise and promote each other’s products on their own websites with links to each.”
17

18   11.      Paragraphs 64, 71, 77, 85, 93, 99, 105, 110, 116, and 121 of the Complaint merely

19   repeat prior allegations in the Complaint, and Defendant accordingly repeats and realleges
20
     its responses thereto.
21
     12.      Deny each and every allegation set forth in paragraph 126 of the Complaint
22
     except admits that Gro-Well periodically submitted to Plaintiff several Excel spreadsheets
23

24   that set forth Gro-Well’s payments to Plaintiff under the Agreement.

25   13.      Deny any and all allegations not heretofore previously admitted or denied.
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1    14.      With respect to the Prayer for Relief, no response is required as each merely states
2
     a prayer for relief. To the extent a response is required, Defendants deny the allegations,
3
     and respectfully refer questions of law for the Court to determine at trial.
4
                    AS AND FOR A FIRST AFFIRMATIVE DEFENSE
5
     15.      Plaintiff purchased a substantial amount of soil products from Gro-Well
6

7    beginning in or around 2010 continuing through 2017.

8    16.      Since 2010, Plaintiff has refused to pay Gro-Well substantial amounts owed to
9
     Gro-Well by Plaintiff for the aforementioned soil products.
10
     17.      Amounts owed to Plaintiff set forth in the Complaint are offset in full by the sums
11
     owed by Plaintiff to Gro-Well, as more fully set forth in Gro-Well’s first counterclaim
12

13   below.

14   18.      Indeed, there is a substantial amount of evidence showing that both parties treated
15
     these amounts as offsetting each other contemporaneously as the amounts due were
16
     accrued, including but not limited to email correspondence between the parties.
17
                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE
18
     19.      Between 2010 and 2014, Plaintiff received several invoices from Gro-Well for the
19

20   SF Bags it purchased.

21   20.      Plaintiff paid only part of the amounts due as per the invoices.
22
     21.      Between 2010 and 2014, Plaintiff paid Gro-Well only $66,849.76 where, as per
23
     the invoices, $157,724.77 was due to Gro-Well.
24

25
     22.      At no time did Plaintiff object to the invoices.
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1    23.      Between 2010 and 2017, Plaintiff received several communications from Gro-
2
     Well containing an accounting of the amounts owed by Gro-Well to Plaintiff under the
3
     License Agreement.
4
     24.      The accountings showed a certain balance between the parties, and at no time did
5

6    Plaintiff object to the balance showed in these accountings.

7    25.      As a result of the foregoing, Gro-Well has an affirmative defense of an account
8
     stated because the aforementioned invoices and accountings show that no amounts are due
9
     and owing by Gro-Well to Plaintiff because the amounts due to Plaintiff by Gro-Well were
10
     offset by amounts due to Gro-Well by Plaintiff.
11

12                  AS AND FOR A THIRD AFFIRMATIVE DEFENSE

13   26.      Plaintiff’s claims are barred because Gro-Well paid to Plaintiff the amounts due to

14   Plaintiff by Gro-Well.
15
                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE
16
     27.      Plaintiff’s claims are barred by the doctrines of Accord & Satisfaction.
17
     28.      Specifically, on at least one occasion, Plaintiff cashed a check after receiving an
18
     email stating that the check brought the balance owed by Gro-Well to Plaintiff to zero.
19

20                  AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

21   29.      Plaintiff was not authorized to terminate the License Agreement due to purported

22   non-payment and its purported termination is a nullity.
23
     30.      As set forth herein, the amounts purportedly owed to Plaintiff under the License
24
     Agreement were offset by amounts owed to Gro-Well by Plaintiff for the sale of soil
25
     products to Plaintiff.
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1                   AS AND FOR A SIXTH AFFIRMATIVE DEFENSE
2    31.      Plaintiff was not authorized to terminate the License Agreement as a result of the
3
     sale of Gro-Well and its purported termination is a nullity.
4
     32.      Indeed, the Licenses Agree provides that “[t]his Agreement may be assigned by
5
     Licensee without prior written consent of the Licensor.”
6

7    33.      The sale of Gro-Well had no effect on the status of the License Agreement.

8                 AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE
9    34.      Plaintiff has not suffered any damages.
10
                  AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE
11
     35.      The Complaint fails to state a claim upon which relief can be granted.
12
                    AS AND FOR A NINTH AFFIRMATIVE DEFENSE
13
     36.      Gro-Well did not sell unauthorized products under the License Agreement,
14
     “including, without limitation, Square Foot Gardening grid kits and gardening books,” as
15

16   alleged in the Complaint.

17   37.      Plaintiff was not authorized to terminate the License Agreement due to Gro-
18
     Well’s purported sale of unauthorized products because the claim is entirely false, and its
19
     purported termination is a nullity.
20
                   AS AND FOR A TENTH AFFIRMATIVE DEFENSE
21
     38.      Plaintiff and Gro-Well entered into a License Agreement concerning the use of a
22

23   trademark with the registration no. 2,784,380.

24   39.      In its complaint, Plaintiff claims that the License Agreement concerns a trademark
25
     with the registration nos. 4,097,739 and 4,002,068.
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1    40.      It is unclear from the complaint how registration nos. 4,097,739 and 4,002,068
2
     relate to registration no. 2,784,380, and, absent a further clarification, each and every claim
3
     made by Plaintiff fails to state a cause of action.
4
     41.      A search of the United States Patent and Trademark Office’s Trademark
5

6    Electronic Search System website shows that the Mark was cancelled on January 21, 2015.

7               AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE
8    42.      The claims against Alan Langer individually must be dismissed because, as a
9
     matter of law, the Complaint does not allege facts that could sustain such claims.
10
     43.      Specifically, Plaintiff has not alleged facts alleging that Alan Langer acted in an
11
     individual capacity rather than as an employee and representative of Gro-Well.
12

13                AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

14   44.      Plaintiff’s claims are barred by the doctrines of waiver, laches, and estoppel.

15             AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE
16   45.      Plaintiff’s claims are barred in part by the applicable statute of limitations.
17
               AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE
18
     46.      Plaintiff’s claims are barred by the doctrines of res judicata and/or collateral
19
     estoppel as a result of the previous litigation in the case captioned as:
20
                      STATE OF SOUTH CAROLINA
21
                      COUNTY OF RICHLAND
22
                      IN THE COURT OF COMMON PLEAS

23                    CASE NO. 2013CP4006788

24                    MEL BARTHOLOMEW FOUNDATION
                      LTD. (d/b/a Square Foot Gardening
25                    Foundation), MEL BARTHOLOMEW
                      FOUNDATION, INC. (d/b/a Square Foot
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1                    Gardening Foundation), and MEL
                     BARTHOLOMEW,
2
                     Plaintiffs,
3
                     VICTORIA A. BOUDMAN, MELISSA
4                    BARTH, ALAN SILVA, SQUARE
                     FOOT GARDENING a/k/a Square Foot
5                    Gardening, Inc., QUAYSIDE
                     PUBLISHING GROUP, RODALE, INC.,
6
                     and GRO-WELL BRANDS, INC.,
7
     pursuant to which the issues of license fee payments made by Gro-Well was an issue, and
8
     pursuant to which Gro-Well was dismissed as a defendant “with prejudice” by an order of
9
     the Court entered by Master-in-Equity Joseph M. Strickland.
10

11              AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

12   47.      Plaintiff’s claims are barred by the doctrine of unclean hands.

13   48.      Plaintiff is aware that it failed to pay Gro-Well for the purchase of SF Bags during
14
     the same time periods it claims it is owed money under the License Agreement.
15
     49.      Plaintiff is aware that the parties contemporaneously offset the amounts due each
16
     other in or around the years such charges accrued.
17

18   50.      Nevertheless, in bringing this lawsuit, it simply ignored the amounts that it owes

19   to Gro-Well that accrued at the same time as the amounts in controversy in the Complaint.
20

21

22

23

24

25
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1                        AS AND FOR A FIRST COUNTERCLAIM
                          (Breach of Contract on Behalf of Gro-Well)
2
     1.        Defendants repeat and reallege all of the allegations set forth above as if fully set
3
     forth below.
4

5
     2.        Gro-Well manufactures, through its proprietary composting process and other

6    means, soil and gardening products.

7    3.        Gro-Well also causes bags with printed designs and trademarks to be
8
     manufactured and causes such bags to be filled with soil products, which are offered to the
9
     public for sale through its website and at retailers such as Home Depot and Lowes.
10

11
     4.        Plaintiff first entered into a license agreement with Gro-Well in 2010 (“Initial

12   License Agreement”). This was prior to the October 2011 License Agreement that is the

13   subject of this action.
14
     5.        After Plaintiff and Gro-Well entered into the Initial License Agreement, Gro-Well
15
     began printing bags with Plaintiff’s trademark Registration No. 2,784,380 (the “Mark”)
16

17
     and filling same with soil products, which it offered to the public for sale.

18   6.        Plaintiff also manufactures many other varieties of soil using several of its own

19   marks and certain other third-party marks.
20
     7.        Beginning in 2010 after the Initial License Agreement was executed, and
21
     continuing through 2017, Plaintiff began purchasing such bags of soil with its Mark (“SF
22

23
     Bags”) and offering them for sale through Plaintiff’s website.

24   8.        Plaintiff also commissioned Gro-Well to fulfill orders to Plaintiff’s customers and

25   caused Gro-Well to ship SF Bags directly to Plaintiff’s customers.
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1    9.       Plaintiff purchased a substantial amount of SF Bags from Gro-Well since 2010.
2
     10.      Since 2010, Plaintiff has refused to pay Gro-Well substantial amounts owed to
3
     Gro-Well for the aforementioned SF Bags.
4
     11.      At or around the time such charges accrued, Gro-Well treated the majority of such
5

6    sums due for the purchase of SF Bags by Plaintiff as offsetting amounts owed by Gro-Well

7    to Plaintiff under the License Agreement.
8
     12.      Plaintiff appeared to do the same based on communications with Gro-Well.
9
     13.      Pursuant to the Plaintiff and Gro-Well’s agreement to purchase SF Bags, Plaintiff
10
     was required to make late fee payments of 1.5% per month in the event that it failed to pay
11

12   amounts to Gro-Well when due.

13   14.      Further, even taking offsets into consideration, there are sums due and owing to
14
     Gro-Well by Plaintiff as a result of the purchase of SF Bags.
15
     15.      If there were no offsets as Plaintiff claims, then Plaintiff failed to make several
16
     payments to Gro-Well for SF Bags when due, and to date, a substantial sum remains due
17

18   and owing to Gro-Well by Plaintiff.

19   16.      In 2010, Plaintiff purchased $79,495.08 in SF Bags from Gro-Well but only paid
20
     Gro-Well $37,909.76.
21
     17.       In 2011, Plaintiff purchased $29,330.69 in SF Bags from Gro-Well but only paid
22
     Gro-Well $6,600.
23

24   18.      In 2012, Plaintiff purchased $19,539.00 in SF Bags from Gro-Well but paid Gro-

25   Well nothing.
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1    19.       In 2014, Plaintiff purchased $7,020.00 in SF Bags from Gro-Well but paid Gro-
2
     Well nothing.
3
     20.       Not including late fees, Plaintiff owed Gro-Well not less than $90,875.01 for its
4
     purchase of SF Bags by the end of 2014.
5

6    21.       The amount owed by Plaintiff to Gro-Well is far higher than $90,875.01 when

7    late fees are calculated and added to the base sum.
8
     22.       The aforesaid amounts owed to Gro-Well by Plaintiff offset in full – and exceed -
9
     the sums purportedly owed by Gro-Well to Plaintiff.
10
     23.       Gro-Well performed all of its obligations under the agreement between Gro-Well
11

12   and Plaintiff to purchase SF Bags.

13   24.       Gro-Well has been damaged by the breach in an amount not less than $90,875.01,
14
     plus late fees and interest.
15
                        AS AND FOR A SECOND COUNTERCLAIM
16                          (Account Stated on Behalf of Gro-Well)

17
     25.       Defendants repeat and reallege all of the allegations set forth above as if fully set

18   forth below.

19   26.       Between 2010 and 2017, Plaintiff received several invoices from Gro-Well for the
20
     SF Bags it purchased.
21
     27.       Plaintiff paid only part of the amounts due as per the invoices.
22

23
     28.       Between 2010 and 2014, Plaintiff paid Gro-Well only $66,849.76 where, as per

24   the invoices, $157,724.77 was due to Gro-Well.

25   29.       At no time did Plaintiff object to the invoices.
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1    30.      Gro-Well has been damaged by Plaintiff’s failure to pay such invoices in an
2
     amount not less than $90,875.01, plus late fees and interest.
3
                        AS AND FOR A THIRD COUNTERCLAIM
4                    (Breach of License Agreement on Behalf of Gro-Well)

5
     31.      Defendants repeat and reallege all of the allegations set forth above as if fully set

6    forth below.

7    32.      Gro-Well performed all of its obligations under the License Agreement.
8
     33.      Plaintiff breached the License Agreement by terminating same without cause.
9
     34.      Gro-Well has been damaged by the breach.
10

11
                       AS AND FOR A FOURTH COUNTERCLAIM
                          (Attorneys’ Fees on Behalf of Defendants)
12   35.       Defendants repeat and reallege all of the allegations set forth above as if fully set
13
     forth below.
14
     36.       Defendants have incurred substantial attorneys’ fees in defending this suit.
15
     37.       Defendants request an award of costs, disbursements and attorneys’ fees for the
16

17   successful defense of this action pursuant to Ariz. Rev. Stat. §§ 12-341 and 12-341.01 in

18   this matter.
19

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1           WHEREFORE, Defendants respectfully demand judgment in favor of Defendants and
2    against Plaintiff dismissing the Complaint in its entirety and granting Defendants such other and
3
     further relief that this Court deems just and proper.
4
     Dated: New York, New York
5           May 11, 2018

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